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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                          CASE NO.




  JESSICA SANCHEZ,
  on behalf of herself and all others
  similarly situated,

  Plaintiff,

  v.

  CREDIT CONTROL, LLC,
  a Missouri Limited Liability Company,

  Defendant.
  ____________________________________________/


                       CLASS ACTION COMPLAINT AND JURY DEMAND

       1.      Plaintiff alleges violations of the Fair Debt Collection Practices Act, 15 U.S.C. §1692

               et seq. (“FDCPA”).

                                     JURISDICTION AND VENUE

       2.      This Court has jurisdiction under the Fair Debt Collection Practices Act pursuant to

               28 U.S.C. §1331 and 15 U.S.C. §1692k.

       3.      Venue in this District is proper because Plaintiff resides here and Defendant conducts

               business in this District.

                                                PARTIES

       4.      Plaintiff, Jessica Sanchez (“Plaintiff”), is a natural person and citizen of the State of

               Florida, residing in Saint Lucie County, Florida.


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     5.    Defendant, Credit Control, LLC, is a Missouri Limited Liability Company, engaged

           in the business of collecting consumer debts, which operates from offices located at

           5757 Phantom Drive, Suite 330, Hazelwood, Missouri 63042.

     6.    Defendant regularly uses the United States Postal Service and telephone in the

           collection of consumer debts.

     7.    Defendant regularly collects or attempts to collect debts for other parties.

     8.    Defendant is licensed in the State of Florida as a consumer collection agency, license

           number CCA0900526.

     9.    Defendant is a “debt collector” as defined in the FDCPA.

     10.   At all times material to the allegations of this Complaint, Defendant was acting as

           debt collector with respect to the collection of Plaintiff’s alleged debt.

                                  FACTUAL ALLEGATIONS

     11.   Defendant sought to collect a consumer debt from Plaintiff arising from an alleged

           delinquency on a Bank of America credit card account. The credit card account was

           not acquired for any commercial purpose. The debt was incurred primarily for

           personal, household or family purposes.

     12.   Professional Recovery Services, Inc. was a consumer collection agency doing

           business in the State of Florida as Echelon Recovery, Inc.

     13.   Professional Recovery Services Inc.’s license to collect consumer debts in Florida

           expired in the year 2000, license number CCA9901253.

     14.   On information and belief, Professional Recovery Systems, Inc. operated as Echelon

           Recovery Systems, Inc. in the State of Florida since the year 2001.


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     15.   Echelon Recovery Systems, Inc. was a consumer collection agency in Florida, license

           number CCA0900396.

     16.   On information and belief, Defendant Credit Control, LLC acquired Professional

           Recovery Services, Inc. in 2013, and allowed it to operate as a separate corporate

           entity.

     17.   On information and belief, Defendant Credit Control, LLC took over Professional

           Recovery Services, Inc.’s accounts, including Plaintiff’s account, on July 1, 2015.

     18.   On or about June 5, 2015, Defendant, while operating under its former name

           Professional Services, Inc., sent Plaintiff a letter in regard to the collection of an

           alleged debt. (The “Professional Services Demand Letter” is attached hereto as

           “Exhibit 1.”).

     19.   On or about June 19, 2015, Plaintiff sent Professional Recovery Services, Inc. a letter

           requesting verification of the debt. (The “Verification Letter” is attached hereto as

           “Exhibit 2.”).

     20.   Defendant never verified Plaintiff’s debt as requested by Plaintiff in her Verification

           Letter.

     21.   On or about July 2, 2015, Defendant Credit Control, LLC sent Plaintiff a letter

           requesting payment of the alleged debt. (The “Credit Control Demand Letter” is

           attached hereto as “Exhibit 3”).

     22.   Plaintiff never received the requested verification of the debt from Professional

           Recovery Services, Inc./Echelon Recovery Systems, Inc. prior to receiving the July 2,




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           2015 Credit Control Demand Letter. To date there has never been a response to

           Plaintiff’s Verification Letter.

     23.   15 U.S.C. §1692g(b) states:

                       (b) If the consumer notifies the debt collector in writing
                       within the thirty-day period described in subsection (a) that
                       the debt, or any portion thereof, is disputed, or that the
                       consumer requests the name and address of the original
                       creditor, the debt collector shall cease collection of the
                       debt, or any disputed portion thereof, until the debt
                       collector obtains verification of the debt or any copy of a
                       judgment, or the name and address of the original creditor,
                       and a copy of such verification or judgment, or name and
                       address of the original creditor, is mailed to the consumer
                       by the debt collector.

     24.   The Credit Control Demand Letter was Defendant’s initial communication with

           Plaintiff in regards to the collection of the alleged debt.

     25.   15 U.S.C. §1692g(a) states:

               Validation of debts.

                       (a) Notice of debt; contents. Within five days after the
                       initial communication with a consumer in connection with
                       the collection of any debt, a debt collector shall, unless the
                       following is contained in the initial communication or the
                       consumer has paid the debt, send the consumer a written
                       notice containing-

                       (1) the amount of the debt;

                       (2) the name of the creditor to whom the debt is owed;

                       (3) a statement that unless the consumer, within thirty days
                       after receipt of the notice, disputes the validity of the debt,
                       or any portion thereof, the debt will be assumed to be valid
                       by the debt collector;

                       (4) a statement that is the consumer notifies the debt
                       collector in writing within the thirty-day period that the

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                       debt, or any portion thereof, is disputed, the debt collector
                       will obtain verification of the debt or a copy of a judgment
                       against the consumer and a copy of such verification will
                       be mailed to the consumer by the debt collector; and

                       (5) a statement that, upon the consumer’s written request
                       within the thirty-day period, the debt collector will provide
                       the consumer with the name and address of the original
                       creditor, if different from the current creditor.

     26.   Defendant’s Credit Control Demand Letter violated 15 U.S.C. §1692g(a) as it did not

           contain the disclosures required by the FDCPA in its initial communication or within

           five days after.

     27.   Any potential bona fide error defense which relies upon Defendants’ mistaken

           interpretation of the legal duties imposed upon it by the FDCPA would fail as a

           matter of law.

                              CLASS ACTION ALLEGATIONS


     28.   This action is brought on behalf of a Class consisting of (i) all persons with addresses

           in the State of Florida (ii) whose accounts were previously with Professional

           Recovery Services, Inc. (iii) to whom initial communication letters were sent by

           Defendant Credit Control, LLC (iii) that did not contain the disclosures required by

           15 U.S.C. §1692g(a) (iv) that were mailed, delivered or caused to be served by the

           Defendant Credit Control, LLC (v) that were not returned undeliverable by the U.S.

           Post Office (vi) in an attempt to collect a debt incurred for personal, family, or

           household purposes (vii) during the one year period prior to the filing of the original

           Complaint in this action through the date of certification.



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     29.   Plaintiff alleges on information and belief that Defendant Credit Control, LLC’s use

           of sending initial communication letters that did not contain the disclosures required

           by 15 U.S.C. §1692g(a), served upon the Class is so numerous that joinder of all

           members of the Class is impractical.

     30.   There are questions of law or fact common to the Class.            The common issues

           predominate over any issues involving only individual Class members. The common

           legal and factual issue to each Class member is that each was served with an initial

           communication letter by Defendant Credit Control, LLC that did not contain the

           disclosures required by 15 U.S.C. §1692g(a).

     31.   Plaintiff’s claim is typical of those of the Class members. All are based on the same

           facts and legal theories.

     32.   Plaintiff will fairly and adequately protect the interests of the Class. She has retained

           counsel experienced in handling actions involving unlawful practices under the

           FDCPA and Class actions. Neither Plaintiff nor her counsel has any interests which

           might cause them not to vigorously pursue this action.

     33.   Certification of the Class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

           is also appropriate in that:


               (1) The questions of law or fact common to the members of the
               class predominate over any questions affecting an individual
               member.

               (2) A class action is superior to other available methods for the fair
               and efficient adjudication of the controversy.




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     34.   Plaintiff requests certification of a Class under Rule 23(b)(3), of the Federal Rules of

           Civil Procedure, for monetary damages; her appointment as Class Representative;

           and that her attorney Leo W. Desmond be appointed Class Counsel.

                                   COUNT I
                   CLASS CLAIM VIOLATION OF 15 U.S.C. § 1692g(a)

     35.   Plaintiff re-alleges Paragraphs 1 through 27.

     36.   15 U.S.C. §1692g(a) states:

                      Validation of debts.

                      (a) Notice of debt; contents. Within five days after the
                      initial communication with a consumer in connection with
                      the collection of any debt, a debt collector shall, unless the
                      following information is contained in the initial
                      communication or the consumer has paid the debt, send the
                      consumer a written notice containing -

                      (1) the amount of the debt;

                      (2) the name of the creditor to whom the debt is owed;

                      (3) a statement that unless the consumer, within thirty days
                      after receipt of the notice, disputes the validity of the debt,
                      or any portion thereof, the debt will be assumed to be valid
                      by the debt collector;

                      (4) a statement that if the consumer notifies the debt
                      collector in writing within the thirty-day period that the
                      debt, or any portion thereof, is disputed, the debt collector
                      will obtain verification of the debt or a copy of a judgment
                      against the consumer and a copy of such verification or
                      judgment will be mailed to the consumer by the debt
                      collector; and

                      (5) a statement that, upon the consumer’s written request
                      within the thirty-day period, the debt collector will provide
                      the consumer with the name and address of the original
                      creditor, if different from the current creditor.


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     37.   Defendant sent the Credit Control Demand Letter to Plaintiff and a substantially

           similar letter to Class members whose accounts were previously with Professional

           Recovery Inc., in an attempt to collect a consumer debt.

     38.   The Credit Control Demand Letter was an initial communication between Plaintiff

           and Defendant and did not contain the notice required by 15 U.S.C. §1692g(a).

     39.   Defendant did not send out the notice required by 15 U.S.C. §1692g(a), within 5 days

           of sending out its initial collection letters to Plaintiff, and putative Class members

           whose accounts were previously with Professional Recovery, Inc.

     40.   Defendant violated the FDCPA by failing to provide the notice required by 15 U.S.C.

           §1692g(a) in its initial collection letters, or within 5 days of sending its initial

           collection letters.

     41.   As a result of Defendant’s conduct, Plaintiff and the Class are entitled to an award of

           statutory damages pursuant to 15 U.S.C. §1692k.

     42.   As a result of Defendant’s conduct, Plaintiff and the Class are entitled to an award of
           costs and attorney fees pursuant to 15 U.S.C. §1692k.

                   PLAINTIFF’S INDIVIDUAL ALTERNATIVE COUNT
                         VIOLATION OF 15 U.S.C. § 1692g(b)


     43.   Plaintiff re-alleges Paragraphs 1 through 27.

     44.   15 U.S.C. §1692g(b) states:

                       (b) If the consumer notifies the debt collector in writing
                       within the thirty-day period described in subsection (a) that
                       the debt, or any portion thereof, is disputed, or that the
                       consumer requests the name and address of the original
                       creditor, the debt collector shall cease collection of the
                       debt, or any disputed portion thereof, until the debt
                       collector obtains verification of the debt or any copy of a

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                      judgment, or the name and address of the original creditor,
                      and a copy of such verification or judgment, or name and
                      address of the original creditor, is mailed to the consumer
                      by the debt collector.


     45.   Defendant’s July 2, 2015 “Credit Control Demand Letter” violated 15 U.S.C.

           §1692g(b) because Defendant did not cease collection of the debt until it mailed a

           verification of the debt to Plaintiff as requested by Plaintiff’s June 19, 2015

           Verification Letter.

     46.   Pursuant to 15 U.S.C. §1692g(b), after Plaintiff mailed the Verification Letter,

           Defendant may not attempt to collect the alleged debt until Defendant obtains

           verification of the debt and mails the same to Plaintiff.

     47.   Defendant did not then, or ever, mail Plaintiff a verification of the debt.

     48.   Defendant did not cease collection of the alleged debt until verification of the debt

           was mailed to Plaintiff. Defendant therefore violated 15 U.S.C. §1692g(b).

     49.   As a result of Defendant’s conduct, Plaintiff is entitled to an award of statutory

           damages pursuant to 15 U.S.C. §1692k.

     50.   As a result of Defendant’s conduct, Plaintiff is entitled to an award of costs and

           attorney’s fees pursuant to 15 U.S.C. §1692k.

                                     RELIEF REQUESTED

              WHEREFORE, Plaintiff prays for the following relief:

              a. An Order certifying the FDCPA matter as a Class Action and appointment of

                  Plaintiff as Class Representative;

              b. An Order appointing Leo W. Desmond as Class Counsel;




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              c. An award of statutory damages for Plaintiff and the Class pursuant to 15

                  U.S.C. §1692k for all Class claims;

              d. An award of attorney’s fees, litigation expenses and costs of the instant suit;

              e. Any and all prejudgment interest rendered by law; and

              f. Such other and further relief as the Court deems proper.

                                       JURY DEMAND

              Plaintiff demands a trial by jury.



        Dated: December 1, 2015.

                                                            Respectfully submitted,

                                                            /s/ Leo W. Desmond
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